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lN THE UNITED STATES DISTRICT COURT F"-ED f"~°‘f' u{“/ -i).c.
FoR THE wESTERN DISTRICT FOR TENNESSEE ,,_1, h
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UNITED STATES oF AMERICA, ‘§§‘§E'i'*“ 'i' "`L:~:,c.:z:_o
't:. ‘, ; ;‘ t " .!;:_j;§
Plaintiff,
vs. Cr. No. 05-20047-B

CHARLES FRANKLIN GRUBBS,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

The Court having considered the defendant’s motion to waive his appearance at the report
date finds that in light of the defense need for additional time to prepare , the need to review the
discovery with the defendant , the fact that Mr. Grubb resides in Texas and was recently appointed

counsel on May 4, 2005 the motion should be Granted. Therefore, the defendant shall not be

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@S required to appear at the report date scheduled mph/lay 355 2005.

lt is 50 0RDERED, this the ZK day OfMay 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20047 was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

